




No. 3--01--0258







IN THE 



APPELLATE COURT OF ILLINOIS



THIRD DISTRICT



A.D., 2002



KATINA BENSON,				
)	Appeal from the Circuit Court

)	of the 14th Judicial Circuit

Plaintiff,			)	Rock Island County, Illinois

)

v.					)

)

ALVIN ABBOTT and DALE GANAWAY,)

)

Defendants			)

)

(ALVIN ABBOTT,				)	

)	

Cross Defendant-		
)	
No.	99--SC--3599

Appellant;
	
		)

)	

DALE GANAWAY,				)	

)	
Honorable

Cross Plaintiff		)	James J. Mesich,

-Appellee). 
			)	Judge Presiding.







Modified Upon Denial of Rehearing

JUSTICE HOMER delivered the opinion of the court:







Katina Benson filed a small claims action against Alvin Abbott and Dale Ganaway to recover damages arising from an automobile accident. &nbsp;Ganaway filed a two-count cross-claim against Abbott and was awarded a judgment of $7,348.91. &nbsp;Abbott appeals the amount of the award. &nbsp;We reduce the award to $5,000 and remand for further proceedings.

BACKGROUND

The plaintiff, Katina Benson, was a passenger in a car driven by one of the defendants, Dale Ganaway. &nbsp;Ganaway was driving behind a car driven by the other defendant, Alvin Abbott. &nbsp;When the two cars collided, Benson and Ganaway were injured. &nbsp;Benson filed a small claims action against Ganaway and Abbott seeking monetary damages for her injuries.

Ganaway brought a cross-claim against Abbott alleging Abbott's negligence as the proximate cause of the accident. &nbsp;In Count I of his cross-claim, Ganaway sought recovery for damages to his vehicle in the amount of $4,064.11. &nbsp;In Count II, Ganaway originally sought $8,000 for personal injury damages, but moved to reduce that amount to $5,000 just before trial. &nbsp;At trial, the court awarded Ganaway $4,063.91 for property damages and $3,285 for personal injury damages. &nbsp;The total amount of damages awarded Ganaway was $7,348.91.

Abbott filed a posttrial motion to reduce damages to $5,000. &nbsp;The court denied Abbott's motion and Abbott appeals. 

ANALYSIS

The sole question before this court is whether the circuit court had authority to award Ganaway more than $5,000 in damages on his two-count small claims complaint against Abbott. &nbsp;Abbott argues that the total amount of damages in a small claims action cannot exceed $5,000. &nbsp;Ganaway, on the other hand, argues that each count of his cross-claim constituted a separate cause of action, and that his individual awards were within the small claims limit.

Supreme Court Rule 281 provides that: "[A] small claim is a civil action based on either tort or contract for money not in excess of $5,000, exclusive of interest and costs, or for the collection of taxes not in excess of that amount." &nbsp;166 Ill. 2d R. 281. &nbsp;Judicial interpretation of a Supreme Court Rule is a question of law. &nbsp;
State Farm Insurance Co. v. Kazakova
, 299 Ill. App. 3d 1028, 1031, 702 N.E.2d 254, 257 (1998). &nbsp;This court reviews questions of law 
de
 
novo
. &nbsp;
State Farm
, 299 Ill. App. 3d at 1031, 702 N.E.2d at 257.

The specific question raised in this case has not been addressed in Illinois caselaw; however, there are related cases that aid our analysis. &nbsp;Ganaway maintains that the case of 
Tomaso v. Sestak
, 321 Ill. App. 363, 53 N.E.2d 134 (1944), supports his position. &nbsp;In 
Tomaso
, a plaintiff sought relief for personal injuries and property damage in the municipal court of Chicago. &nbsp;At that time, damage awards for personal injury could not exceed $1,000 in that court. &nbsp;However, there was no limit on property damage awards. &nbsp;The appellate court concluded that the plaintiff could bring both claims in the same action, but that the plaintiff could not receive a judgment in excess of $1,000 for personal injuries. &nbsp;

Ganaway points out that the 
Tomaso
 court treated the plaintiff's claims for personal injury and property damage as separate actions. &nbsp;Ganaway argues that this holding should extend to the case at bar. &nbsp;However, the weight of authority does not favor Ganaway's contention that his two negligence claims are separate causes of action. &nbsp;Notably, in 
Rice v. Burnley
, 230 Ill. App. 3d 987, 992, 596 N.E.2d 105, 107 (1992), a plaintiff set forth multiple counts seeking recovery for negligence, but the court held that the separate counts did not amount to separate actions. &nbsp;See also 
River Park, Inc., v. City of Highland Park
, 184 Ill. 2d 290, 703 N.E.2d 883 (1998) (holding that for purposes of 
res
 
judicata
, separate claims will be considered the same cause of action if they arise from a single group of operative facts, regardless of whether they assert different theories of relief.)
 &nbsp;

Ganaway also points to 
Ras v. Allan Anthony Electric Corp.
, 55 Ill. App. 2d 176, 204 N.E.2d 797 (1965), in support of his argument, but the facts before the court in 
Ras
 are not parallel to the circumstances we face in this case. &nbsp;Because the plaintiff in 
Ras
 sued three separate defendants in three separate counts, the trial court held that each count was a separate cause of action. &nbsp;Since each award against each defendant was below the authorized limit, the lower court's judgment was affirmed. &nbsp;
Ras
, 55 Ill. App. 2d at 182, 204 N.E.2d at 801.

Although separate causes of action existed in 
Ras
, the same is not true in this case. &nbsp;Ganaway's two counts are against a single defendant and arise out of a single occurrence. Consequently, we hold that Ganaway's two negligence claims are part of the same cause of action.

Pursuant to Supreme Court Rule 281 a court may not award a plaintiff more than $5,000 in a small claims action. &nbsp;Because the court lacked the authority under Rule 281 to award Ganaway more than $5,000 in damages, we reduce the award from $7,348.91 to $5,000 pursuant to our authority set forth in Supreme Court Rule 366(a) (155 Ill. 2d R. 366(a)). &nbsp;

CONCLUSION

The judgment of the Circuit Court of Rock Island County is modified in accordance with this opinion. &nbsp;We remand this cause to the Circuit Court for proper apportioning of the award.

Affirmed as modified; remanded with directions.

BRESLIN, J., and LYTTON, P.J., concurred.




